92 F.3d 1189
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that they are not precedent and generally should not be cited unless relevant to establishing the doctrines of res judicata, collateral estoppel, the law of the case, or if the opinion has persuasive value on a material issue and no published opinion would serve as well.Randall H. SMITH, Appellant,v.Shirley S. CHATER, Commissioner of Social SecurityAdministration, Appellee.
    No. 95-3447MN.
    United States Court of Appeals,Eighth Circuit.
    Submitted July 18, 1996.Filed July 30, 1996.
    
      Before FAGG, WOLLMAN, and MURPHY, Circuit Judges.
      PER CURIAM.
    
    
      1
      Randall H. Smith appeals the district court's grant of summary judgment affirming the Commissioner's decision to deny Smith disability insurance benefits.  After careful review of the parties' briefs and the administrative record, we affirm for the reasons stated in the district court's opinion.  See 8th Cir.  R. 47B.
    
    